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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                           Case No. 21-20264

v.                                         Hon. Denise Page Hood

YLLI DIDANI,

      Defendant.



 Mark Bilkovic (P48855)                 Ylli Didani
 Timothy P. McDonald                    PRO SE DEFENDANT
 Assistant United States Attorneys      FDC Milan
 211 W. Fort St., Ste. 2001             4004 Arkona Road
 Detroit, MI 48226                      Milan, MI 48160
 (313) 226-9623
 mark.bilkovic@usdoj.gov                Wade G. Fink (P78751)
 Timothy.mcdonald@usdoj.gov             WADE FINK LAW, P.C.
 Attorneys for the United States        550 W. Merrill St Suite 100
                                        Birmingham, MI 48009
                                        (248) 712-1054
                                        wade@wadefinklaw.com
                                        Standby Counsel Only


                   DEFENDANT’S MOTION IN LIMINE
              TO SUPPRESS ICLOUD PICTURES AND VIDEO

      Defendant YLLI DIDANI, proceeding pro se, respectfully moves this Court

to suppress and exclude from evidence the iCloud photos and videos that the
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prosecution seeks to introduce. The Defendant asserts that such evidence lacks

authentication, is not reliably verified, and is unduly prejudicial.



Date: January 31, 2025                          Respectfully Submitted,

                                        /s/ Ylli Didani (with permission WGF)1

                                                PRO SE DEFENDANT
                                                FDC Milan
                                                4004 Arkona Road
                                                Milan, MI 48160




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        Standby counsel was asked to file the foregoing motion. Counsel had no part
in the drafting of the substance of this motion, but assisted in formatting and minor
corrections for understanding of the reader.

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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                             Case No. 21-20264

v.                                           Hon. Denise Page Hood

YLLI DIDANI,

      Defendant.



 Mark Bilkovic (P48855)                   Ylli Didani
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 211 W. Fort St., Ste. 2001               4004 Arkona Road
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 mark.bilkovic@usdoj.gov                  Wade G. Fink (P78751)
 Timothy.mcdonald@usdoj.gov               WADE FINK LAW, P.C.
 Attorneys for the United States          550 W. Merrill St Suite 100
                                          Birmingham, MI 48009
                                          (248) 712-1054
                                          wade@wadefinklaw.com
                                          Standby Counsel Only


                             BRIEF IN SUPPORT




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   I.       BACKGROUND

         The defendant is charged in a superseding indictment with: Conspiracy to

Distribute Controlled Substances in violation of 21 U.S.C. 841 and 846, Conspiracy

to Possess with intent to Distribute a Controlled Substance on Board a Vessel

Subject to the Jurisdiction of the United States in violation of 46 U.S.C. 70503(a)

and 70506(b) and Conspiracy to Launder Monetary Instruments in violation of 18

U.S.C. 1956(h)

         The prosecution intends to utilize random photos and videos allegedly found

within the Defendants iCloud account to support its case. These materials are being

used to connect the defendant to drug seizures made outside the United States and

to bolster the prosecutions narrative. The photos and videos, however, are inherently

unreliable and lack sufficient context. Without proper authentication and

verification, their admission would violate the Federal Rules of Evidence and create

an undue risk of prejudice against the Defendant..


   II.      LEGAL ARGUMENT


         A. Lack of Authentication

         Under Federal Rules of Evidence 901(a), to authenticate evidence, the

proponent must produce sufficient evidence to support a finding that the item is what

proponent claims it is.




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        The prosecution has not provided adequate evidence to establish that the

photos and videos were created or maintained by the Defendant, or that they are tied

to the alleged crimes.

        Without such authentication, the reliability and accuracy of these materials

remain questionable. The Possibility that these photos and videos were altered,

fabricated, or misattributed can not be ruled out.

        B. Unreliable Authentication

        The photos and videos lack metadata or other reliable indicia that could verify

their origin, date or context. The absence of such information undermines their

probative value and increases the likelihood of confusion or misinterpretation by the

jury.

        Furthermore, the prosecutions attempt to tie these materials to events and

activities without corroborating evidence is speculative at best and fails to meet the

standards of reliability required for admissible evidence.

        C. The Risk of Undue Prejudice

        Federal Rules of Evidence 403 provides that relevant evidence may be

excluded if its probative value is substantially outweighed by a danger of unfair

prejudice , confusing the issues, or misleading the jury.




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Introducing these photos and videos without proper context or authentication could

lead the jury to draw unwarranted inferences, thereby prejudicing the Defendant.

      The government also plans to introduce emails and photographs between Carl

Chaumont and Zaid Lattouf by the goverments admission this alleged prototype was

destroyed so this is there way to introduce them in to evidence. None of the photos

were taken by the defendant and their use causes unfair prejudice. The use of such

speculative evidence risks creating a false narrative that is not grounded in fact and

unfairly shifts the burden of proof onto the defendant

      IV.    CONCLUSION

      For the foregoing reasons, the Defendant respectfully requests that this

honorable Court grant this Motion in Limine and suppress the iCloud photos and

videos from being admitted in to evidence.

      The defendant requests that this Court:

      1. Exclude from evidence all iCloud photos and videos that the prosecution

seeks to introduce due to lack of authentication and unreliable verification

      2. Grant any other relief deemed just and proper.

Date: January 31, 2025                        Respectfully Submitted,

                                       /s/ Ylli Didani (with permission WGF)

                                              PRO SE DEFENDANT
                                              FDC Milan
                                              4004 Arkona Road
                                              Milan, MI 48160


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                          CERTIFICATE OF SERVICE

      On January 31, 2025, standby counsel, who signs below, filed the foregoing
using the Court’s e-filing system, which will send notice of same to all parties of
record. Standby counsel filed this way at the direction of the Clerk’s Office regarding
Defendant’s pro se status and its preference for future filings.

                                  /s/ Wade G. Fink




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